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                                                    Receivers Final Accounting Report
James H. Donell, Receiver
12121 Wilshire Boulevard, SuNe 1120
Los Angeles, CA 90025

Case Number:      CV 10 0124 DDP (JEMx)
Case Name:        Securities and Exchange Commission
                  vs. Newpomt Financial Services, Inc.; John Farehl; Gissou Restegar Farahi;
                  end Elaheh Amouei, antl Triple "J" Plus, LLC
Cumulative PeAOU: January 8, 2010 -July 31, 2016

                                                                   Prior Period       Current Period      Cumulative Period
                           Desc Aptlon                            118110-12131114     1NI15.7/31 N 6        118170.7131176

CASH RECEIPTS:
   NewPoinl Financial 1031 Exchange Sun West 042707                       2,230.91                 -                2,230.91
   New Point Financial 1031 Exchange Welis Fargo 46589                1,357,115.00                 -            1,357,715.00
   NewPaint Financial 7031 Exchange Wells Fargo 46589                   514,028.42                 -             514,028.42
   NewPoint MOAgage Bankers Sun Wes1042706                               95,442.12                 -               95,442.12
   NewPainl Financial Services Sun West 042702                           59,525.40                 -               59,525.40
   New Point Securities LLC, Wells Fargo 451204                           5,583.31                 -                5,585.31
   Newpoint Financial Services -Bank of America 02185                     7,274.40                 -                7,214.40
   Newpoint Securities LLC, Pershing LLC                                102,000.00                 -              102,000,00
  Triple J Plus, LLC Sun West 042701                                     33,302.92                 -               53,302.92
  Triple J Exchange                                                   1,920,054.59                 -            1,920,054.59
  John Farahi Gissou Farehi BoA 2989                                     76,274.25                                 16,27425
  Gissou Farahi BOA 2663                                                     65.13                 -                   65.73
  Gissou Rastegar BoA 2410                                                2,264.49                 -                2.264.49
  John Farahi Artleshir Vaziri BoA O6B4                                     757.07                 -                  757.07
  John Farehi Wells Fargo Bank                                           59,484.04                 -               59,484.04
   Funds Tf0 by Bank of America                                          43,762.55                 -               43,762.55
   Funds T/O by City National Bank                                       88,845.23                 -               88,845.23
   Parsi Investments -BOA 2186/2119                                      19,081.64                  -              19,081.64
   Farahi Auto Settlement from Allstate Insurance                        51,608.89                 -               51,608.89
  Gissou Farahi - Interactive Brokers acd U212605                         4,15627                  -                4,15627
   Sale of Ferrari                                                       94,350.00                 -               94,J50.00
  Sale of Sea Runner, LLC - Azimut                                      489,000.00                 -              489,000.00
   Sale of Jewelry                                                       69.956.80                 -               69,956.80
   Sale of Alta Drive, Beverly Nills                                    243,046.27                 -              243,046.27
   Refund of Impounds for Alta Drive                                     38,195.99                  -              38,195.99
   Relund of LegallReceiver fees from Investors                          10,100.00                  -              10,100.00
   Funtls from Office Fumitura Auction                                    5,029.59                  -               5,029.59
   Funtls from Alta Drive Fumilure Auction                               46,653.35                  -              46,653.35
   Misc. Reluntls/Income                                                  1,875.63              224.36              2,099.99
  Joseph Golshan -Note Payment                                           62,000.00           17,000.00             79,000.00
   Winners Settlement Payments                                        1,325,251.61          149,793.79          1,475,045.40
   Bank of Amenw Settlement                                           3,850,230.14                  -           3,850,230.14
   Funds T/O by Birtl Marella Boxer 8 Wolpert                            94,679.15                  -              94,679.15
  Funds T/O by Peitzman Weg LLC                                          95,000.00                  -              95,000.00
  quiff Investments Settlement                                        1,090,793.17                  -           1,090,793.17
  Vandat Settlement                                                     225,000.00                  -             225.000.00
   Nixon Peabotly Setllement                                          5,200,000.00                  -           5,200,000.00
  Banafsha Settlement                                                    80,000.00                  -              80,000.00
  Funds 7/O by New York Life Insurance                                  332,569.54                  -             332,569.54
   Interest Income                                                       14,846.85            2,201.6fi            17,048.51
             Total receipts                                          77,751,374.72          169,219.87         17,920,594.53

CASH DISBURSEMENTS:
  Accounting Fees                                                       89 ,098.46           38,607.75            931,70621
  Accounting Costs                                                       10,689.39              24911              10,938.60
  Administrative Expense                                                  9,840.01              150.00              3,990.01
  Claims Procetlure Advertisement                                         1,855.00                 -                1,855.00
  Storage Expense                                                        11,013.12            2,846.20             13,859.32
   Legal Fees                                                         1,434,295.4fi         799,07424           2,173,369.70
   Legal Costs                                                           77,727.22           59,727.73            137,454.95
  Locks 8 Keys                                                              102.07                 -                  102.07
  Postage/Delivery                                                          664.51               69.08                733.59
  Bank Charge                                                             1,452.19              123.85              1,576.04
   Boat Repairs/Expenses                                                255,480.98                 -              255.480.98
   Boat Insurance                                                         6.534.00                 -                6,534.00
  CGI Finance -Sale of Sea Runner LLC                                   200,698.60                 -              200,638.60
   Car Insurance (Ferrari)                                                2,523.90                 -                2,523.90
   Car Repair (Fertari)                                                   8,547.82                 -                8,541.82
  AAa Drive Beverly Hills - FarahPs Mouse                               757,588.56                 -              157,588.56
  J. Farahi Monthly Living Expenses (Per Order)                          14,000.00                 -               14,000.00
   LHigalion SuppoA Costs                                               589,018.46                 -              589,018.46
   Receiver Fees                                                        538,708.37          149,895.72            688,604.09
   Receives Costs                                                        11,407.35           10,536.80             21,949.95
  FetleraVStale Taxes                                                    30,548.02            1,850.00             32,398.02
             Total Disbursements                                      4,249,727.49        1,003,130.38          5,252,857.87

OTHER DISBURSEMENTS:
  1st Distribution to Investors/Cretlttors                            3,056,310.72                 -             3,056,370.72
   M Trust Settlement                                                   700,000.00                 -               700,000.00
  Triple J Settlement                                                 1,006,230.94                 -             1,006,230.94
  2nd Distribution to Investors/Creditors                               957,737.11                 -               957,737.11
  3rtl Distribution to Investors/Cretlitors                             961,697.71                 -               961,697.11
  4th Distribution to Investors                                       4,396,329.80                 -             4,396,329.80
  5th Distribution to Investors                                         343,46328                  -               343,463.28
  6th Distribution to Investors                                         247,293.55                 -               247,293.55
  7th Distribution to Investors                                                             206,077.96             206,077.96
             Total Other Disbursements                               71.669,062.51          206,077,96          11,875,140.47


   (Decrease)/Increase in Cash                                        1,832,584.72       (1,039,988.53)           792,596.19
   Cash-Beginning of periotl                                                              1,832,584.72                   -
   Cash-End of period                                                 1,832,584.72          792,596.19            792,596.19




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